 Case 1:17-cv-00716-RJJ-PJG ECF No. 31 filed 12/14/17 PageID.326 Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION



STEPHEN NYLEN,

                 Plaintiff,
                                                              CASE NO. 1:17-CV-716
v.
                                                              HON. ROBERT J. JONKER
CITY OF GRAND RAPIDS and
BARRY BRYANT,

            Defendants
__________________________________/

                                             ORDER

         This matter is before the Court on Defendants’ Motion to Dismiss (ECF No. 16) and

Plaintiff’s Motion for Preliminary Injunction (ECF No. 12). Based on all matters of record, and

for the reasons stated in detail in open court during the hearing, the Court finds that neither party

is entitled to the relief it seeks.

         ACCORDINGLY, IT IS ORDERED:

         1.      Defendants’ Motion to Dismiss (ECF No. 16) is DENIED.

         2.      Plaintiff’s Motion for Preliminary Injunction (ECF No. 12) is DENIED.

         3.      Defendants’ Answer to the Second Amended Complaint is due no later than

                 January 4, 2017.




Dated:        December 14, 2017               /s/ Robert J. Jonker______________________
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
